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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

CHEVRON CORPORATION,

Plaintiff,

 

Vv.

STEVEN DONZIGER, THE LAW OFFICES OF
STEVEN R. DONZIGER, PABLO FAJARDO
MENDOZA, LUIS YANZA, FRENTE DE
DEFENSA DE LA AMAZONIA A/K/A AMAZON ‘
DEFENSE FRONT, SELVA VIVA SELVIVA
CIA, LTDA., STRATUS CONSULTING, INC.,
DOUGLAS BELTMAN, ANN MAEST, MARIA
AGUINDA SALAZAR, CARLOS GREFA
HUATATOCA, CATALINA ANTONIA

AGUINDA SALAZAR, LIDIA ALEXANDRA
AGUINDA AGUINDA, PATRICIO ALBERTO
CHIMBO YUMBO, CLIDE RAMIRO AGUINDA
AGUINDA, LUIS ARMANDO CHIMBO
YUMBO, BEATRIZ MERCEDES GREFA > COMPLAINT
TANGUILA, LUCIO ENRIQUE GREFA

TANGUILA, PATRICIO WILSON AGUINDA
AGUINDA, CELIA IRENE VIVEROS

CUSANGUA, FRANCISCO MATIAS

ALVARADO YUMBO, FRANCISCO

ALVARADO YUMBO, OLGA GLORIA GREFA
CERDA, LORENZO JOSE ALVARADO

YUMBO, NARCISA AIDA TANGUILA
NARVAEZ, BERTHA ANTONIA YUMBO
TANGUILA, GLORIA LUCRECIA TANGUILA
GREFA, FRANCISCO VICTOR TANGUILA
GREFA, ROSA TERESA CHIMBO TANGUILA,
JOSE GABRIEL REVELO LLORE, MARIA
CLELIA REASCOS REVELO, MARIA
MAGDALENA RODRIGUEZ BARCENES,
HUGO GERARDO CAMACHO NARANIO, JOSE °
MIGUEL IPIALES CHICAIZA, HELEODORO
PATARON GUARACA, LUISA DELIA
TANGUILA NARVAEZ, LOURDES BEATRIZ
CHIMBO TANGUILA, MARIA HORTENCIA
VIVEROS CUSANGUA, SEGUNDO ANGEL

 

JURY TRIAL DEMANDED
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AMANTA MILAN, OCTAVIO ISMAEL
CORDOVA HUANCA, ELIAS ROBERTO
PIYAHUAJE PAYAHUAJE, JAVIER PIAGUAJE
PAYAGUAJE, DANIEL CARLOS LUSITANDE
YAIGUAJE, BENANCIO FREDY CHIMBO
GREFA, GUILLERMO VICENTE PAYAGUAJE
LUSITANTE, DELFIN LEONIDAS PAYAGUAJE
PAYAGUAJE, ALFREDO DONALDO
PAYAGUAJE PAYAGUAJE, TEODORO
GONZALO PIAGUAJE PAYAGUAJE, MIGUEL
MARIO PAYAGUAJE PAYAGUAJE, FERMIN
PIAGUAJE PAYAGUAJE, REINALDO
LUSITANDE YAIGUAJE, LUIS AGUSTIN
PAYAGUAJE PIAGUAJE, EMILIO MARTIN
LUSITANDE YAIGUAJE, SIMON LUSITANDE
YAIGUAJE, ARMANDO WILFRIDO PIAGUAJE
PAYAGUAJE, and ANGEL JUSTINO

PIAGUAGE LUCITANTE,

Defendants.
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Plaintiff Chevron Corporation (“Chevron”) for its Complaint against the Defendants

listed below alleges as follows:
INTRODUCTION

1. Over the course of several years, defendants Steven Donziger and his co-
defendants and co-conspirators have sought to extort, defraud, and otherwise tortiously injure
plaintiff Chevron by means of a plan they conceived and substantially executed in the United
States. Jt has been carried out by a U.S.-based enterprise comprised of, among others, U.S.
plaintiffs’ lawyers, led by Donziger; U.S. environmental consultants, led by Stratus Consulting,
Inc., Ann Maest, and Doug Beltman; their Ecuadorian colleagues, led by Pablo Fajardo and Luis
Yanza; and their front organizations, the Amazon Defense Front and Selva Viva. These con-
spirators are collectively referred to herein as the “RICO Defendants.”! Their co-conspirators in
the enterprise include, among others, U.S. law firms and attorneys, such as Joseph Kohn of Kohn
Swift & Graf, P.C., Emery Celli Brinckerhoff & Abady LLP, Motley Rice LLC and Patton
Boggs LLP; U.S. environmental “activists,” such as Atossa Soltani, Amazon Watch, and Rain-
forest Action Network; U.S. public relations consultants, such as Karen Hinton; and additional
financiers, such as Russell DeLeon and the Burford Group.

2. The enterprise’s ultimate aim is to create enough pressure on Chevron in the
United States to extort it into paying to stop the campaign against it. The RICO Defendants have

sought to inflict maximum “damage to [Chevron’s] reputation,” to put “personal psychological

 

1 Forty-seven of the 48 Ecuadorian individuals who are named in the caption of the Lago
Agrio complaint are also named as defendants here (the exception being one who is now de-
ceased). Whether or not these 47 individuals were actively involved with the corrupt acts de-
scribed in the Complaint, or knew or should have known about them, the Lago Agrio Litiga-
tion and multiple acts in United States courts have been undertaken in their names, as well as
in the name of the Amazon Defense Front, by the other defendants or those acting in concert
with them on their behalves. Thus, they are vicariously liable for the torts of their agents un-
dertaken on their behalf, can in no way benefit from a corruptly obtained judgment, and any
relief Chevron procures by means of this action or other legal avenues applies equally to
these 47 Ecuadorian individuals, who necessarily would thereby be acting in concert with
their corrupt agents.
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pressure [on] their top executives,” to disrupt Chevron’s relations with its shareholders and in-
vestors, to provoke U.S. federal and state governmental investigations, and thereby force the
company into making a payoff.

3. To effect this plan, the RICO Defendants initiated a sham litigation in Lago
Agrio, Ecuador (the “Lago Agrio Litigation”), claiming to seek money damages for “collective
environmental rights” of the “affected” “communities” to remediate alleged petroleum contami-
nation in Ecuador’s Oriente region. The Lago Agrio Litigation was directed and funded in sig-
nificant part from the United States by United States residents, such as Donziger and Kohn. In
prosecuting the Lago Agrio Litigation, the RICO Defendants and their co-conspirators have en-
gaged in a series of corrupt acts. For example, they have submitted in the Lago Agrio Litigation
fabricated evidence in the form of expert reports in the name of a U.S. environmental consultant,
Dr. Charles Calmbacher, that he did not draft or approve. They also pressured U.S. environ-
mental consultant David Russell to generate an inflated $6 billion damages figure, which they
never filed in Lago Agrio but instead touted in the press and, via co-conspirator Amazon Watch,
submitted to the U.S. Securities and Exchange Commission in an attempt to trigger a Sarbanes-
Oxley investigation. And they arranged the appointment of Richard Stalin Cabrera Vega
(“Cabrera”) as the Ecuadorian court’s sole expert to conduct a “global damages assessment.”
They then secretly met with Cabrera to plan his report and—in the United States—ghostwrote
the report and its annexes that Cabrera adopted “pretty much verbatim.” The U.S.-based con-
sultant RICO Defendants drafted “comments” purporting to criticize “the Expert’s work and
conclusions,” even though they had written his initial report themselves, and then ghostwrote
“Cabrera’s” responses to their own “comments,” increasing his fake damage assessment to more
than $27 billion. In addition, the RICO Defendants have adopted a strategy to intimidate Ecua-
dorian judges, whom they have described as “mak[ing] decisions based on who they fear the
most, not based on what the laws should dictate,” and they have colluded with the Republic of

Ecuador to procure sham criminal charges against Chevron’s attorneys.
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4. To pressure Chevron in the United States, the RICO Defendants have cited this
fabricated evidence, Cabrera’s supposedly “independent” report and these tramped-up criminal
charges in false statements to the U.S. Congress, the U.S. Department of Justice, state and fed-
eral regulatory agencies, including the Securities and Exchange Commission, the U.S. media,

" and Chevron shareholders, among others. They have also made false statements to U.S. courts in
an attempt to cover up their wrongdoing and to obstruct Chevron's discovery efforts. In fact,
when U.S. discovery proceedings were poised last March to require disclosure of the RICO De-
fendants’ collusion with Ecuadorian court expert Cabrera, the RICO Defendants sought to delay
the truth from coming out. As one of the Ecuadorian lawyers told Defendant Donziger at the
time, “the effects” of disclosure “are potentially devastating in Ecuador (apart from destroying
the proceeding, all of us, your attorneys, might go to jail).” U.S. counsel agreed, admitting in a
remarkable series of internal emails that “it appears not only that Cabrera and plaintiffs can be
charged with a ‘fraud’ respecting the former’s report, but that Stratus was an active conspirator.”
Undeterred, however, Donziger and other U.S. counsel then conspired to “cleanse” the Cabrera
scandal by submitting to the Lago Agrio court last September new expert reports which largely
relied on the tainted “Cabrera” report, but hiked the damages sought to $113 billion.

5. The RICO Defendants’ conduct violates the Racketeer Influenced and Corrupt
Organizations Act, 28 U.S.C. § 1961 et seq., with predicate acts of extortion, mail and wire
fraud, money laundering, obstruction of justice, and witness tampering, among others. In addi-
tion, Defendants’ conduct constitutes common law fraud, unjust enrichment, intentional interfer-
ence with contract, trespass to chattels, and civil conspiracy, among others. As a result, Defen-
dant’s misconduct entitles Chevron to injunctive relief precluding Defendants from attempting to
enforce any judgment emanating from the proceedings in Lago Agrio, Ecuador, a declaratory

judgment that any such judgment is unenforceable, damages, and other relief.
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PARTIES AND RELEVANT NON-PARTIES
Plaintiff

6. Plaintiff Chevron Corporation (“Chevron”) is a Delaware corporation with its
principal place of business located at 6001 Bollinger Canyon Road, San Ramon, California
94583. Chevron is therefore a citizen of Delaware and California.

RICO Defendants

7. The defendants listed in paragraphs 8 through 16 are the individuals who have
conspired to engage in a pattern of racketeering activity, have each committed numerous crimi-
nal acts as part of their scheme to defraud and extort Chevron, and have each participated in the
operation or management of the criminal enterprise. These defendants shall be referred to herein
as the “RICO Defendants.”

8. Defendant Steven Donziger (“Donziger”) is currently a “consulting” attorney for
the Amazon Defense Front in the Lago Agrio Litigation and, as he described himself, “the per-
son primarily responsible for putting {the Lago Agrio] team together and supervising it.”
Donziger is an individual residing in New York, New York, with an intention to reside there in-
definitely, and is therefore a citizen of New York. Exercise of jurisdiction over Donziger is rea-
sonable and proper in this District for the reasons set forth in paragraph 23, infra.

9. Defendant the Law Offices of Steven R. Donziger is a sole proprietorship lo-
cated at 245 W. 104th Street, #7D, New York, New York 10025, and is therefore a citizen of the
State of New York. Exercise of jurisdiction over the Law Offices of Steven R. Donziger is rea-
sonable and proper in this District for the reasons set forth in paragraph 24, infra.

10. Defendant Pablo Fajardo Mendoza (“Fajardo”) is counsel of record for the Ama-
zon Defense Front as well as purportedly counsel of record for the named plaintiffs in the Lago
Agrio Litigation. Fajardo is an individual residing in Ecuador, with an intention to reside there
indefinitely, and is therefore a citizen of Ecuador. Exercise of jurisdiction over Fajardo is rea-

sonable and proper in this District for the reasons set forth in paragraph 26, infra.
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11. Defendant Luis Yanza (“Yanza’’) is the co-founder of the Amazon Defense
Front and is or has been the General Manager for Defendant Selva Viva. Yanza is an individual
residing in Ecuador, with an intention to reside there indefinitely, and is therefore a citizen of
Ecuador. Exercise of jurisdiction over Yanza is reasonable and proper in this District for the rea-
sons set forth in paragraph 27, infra.

12. Defendant Frente de Defensa de la Amazonia, a/k/a the Amazon Defense Front
or Amazon Defense Coalition (the “Frente” or the “Front”), is a “non-profit” organization pur-
porting to represent the “plaintiffs” in the Lago Agrio Litigation. The Front is the designated
“trustee” in the Lago Agrio Litigation, and seeks to be charged with administering the portion of
any judgment entered against Chevron as defined by the Lago Agrio court not received by the
Republic of Ecuador or the other Defendants. The Front is a non-profit organization registered
under the laws of Ecuador with offices located in the town of Nueva Loja (Lago Agrio) in the
province of Sucumbios, Ecuador. The Front is therefore a citizen of Ecuador. Exercise of juris-
diction over the Front is reasonable and proper in this District for the reasons set forth in para-
graph 28, infra.

13. Defendant Selva Viva, a/k/a Selva Viva Selviva CIA, Ltda. (“Selva Viva’) is or
was an Ecuadorian limited liability company with an office located at 1240 Shirys Street, Tum-
baco, Ecuador. Selva Viva is therefore a citizen of Ecuador. Defendant the Front created Selva
Viva to administer funds for the litigation. Defendant the Front controls Selva Viva, Defendant
Donziger is or has been the President of Selva Viva, and Defendant Yanza is or has been the
General Manager of Selva Viva. Exercise of jurisdiction over Selva Viva is reasonable and
proper in this District for the reasons set forth in paragraph 29, infra.

14. Defendant Stratus Consulting, Inc. (“Stratus”) provided various environmental
consulting services to the RICO Defendants, and was involved in producing the purportedly “in-
dependent” expert report filed in the Lago Agrio Litigation. Stratus is a private corporation in-

corporated in Colorado with its main office at 1881 Ninth Street, Suite 201, Boulder, Colorado
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80302, and is therefore a citizen of Colorado. Exercise of jurisdiction over Stratus is reasonable
and proper in this District for the reasons set forth in paragraph 25, infra.

15. Defendant Douglas Beltman (“Beltman”) is an Executive Vice President of Stra-
tus. Beltman is an individual residing in Colorado, with an intention to reside there indefinitely,
and is therefore a citizen of Colorado. Exercise of jurisdiction over Beltman is reasonable and
proper in this District for the reasons set forth in paragraph 25, infra.

16. Defendant Ann Maest (“Maest”) is a Managing Scientist at Stratus. Maest is an
individual residing in Colorado, with an intention to reside there indefinitely, and is therefore a
citizen of Colorado. Exercise of jurisdiction over Maest is reasonable and proper in this District
for the reasons set forth in paragraph 25, infra.

Non-Party Co-Conspirators

17. Certain other non-party individuals and business entities played roles, direct or
indirect, in the scheme to defraud and extort Chevron. Foremost among these individuals and
business entities are the following:

a. Joseph Kohn (“Kohn”) of the law firm Kohn Swift & Graf, P.C. (“Kohn Swift”)
is or has been a funder and a “consulting” attorney for the Amazon Defense Front
in the Lago Agrio Litigation. Kohn is a resident of Pennsylvania.

b. Kohn Swift is a professional corporation organized under the laws of the State of
Pennsylvania with its principal place of business located at One South Broad
Street, Suite 2100, Philadelphia, Pennsylvania 19107. Kohn Swift has bankrolled
the Lago Agrio Litigation as one of its “flagship cases” and funded the co-
conspirators’ other illegal activities.

c. Joshua Lipton (“Lipton”) is the President of Stratus and is a resident of Colorado.
Together with the RICO Defendants, Lipton coordinated and oversaw the use of
Stratus and other resources by the RICO Defendants to ghostwrite the Cabrera
Report and publicize its findings. To these ends, Lipton met with Donziger to

discuss the RICO Defendants’ plan to draft portions of the Cabrera Report and
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was included in various correspondence concerning Stratus’s work in ghostwrit-
ing the Cabrera Report.

d. David Chapman (“Chapman”) is a Principal at Stratus and is a resident of Colo-
rado. Chapman proposed drafting the Cabrera Report to Donziger, worked with
Lipton and the RICO Defendants to coordinate the use of Stratus resources in the
ghostwriting of the Cabrera Report, and participated in the subsequent obstruction
of Chevron’s efforts to uncover evidence of the fraud in U.S. court proceedings.
He met with Donziger to discuss the RICO Defendants’ plan to ghostwrite the
Cabrera Report, signed Stratus’s report endorsing the Cabrera Report, and per-
jured himself in a deposition when he testified that he had no reason to believe
that Stratus had provided work product to Cabrera.

e. William Powers (“Powers”) is a subcontractor for Stratus and is a resident of
California. Powers had responsibility for components of the fraudulent scheme to
ghostwrite the Cabrera Report; he worked on two annexes of the Cabrera Report
and drafted portions of Cabrera’s supplemental report.

f. Amazon Watch is a “non-profit” organization with its main office at 221 Pine
Street, San Francisco, California 94104. Amazon Watch undertakes various pro-
jects ostensibly on behalf of environmental and human rights causes in the Ama-
zon Basin. In connection with the Lago Agrio Litigation, Amazon Watch applied
its experience and resources in public, media and government relations to use the
Cabrera Report and other false and fraudulent claims as the basis for the RICO
Defendants’ public pressure campaign against Chevron. With the Amazon De-
fense Front, Amazon Watch maintains at least one of the RICO Defendants’ web-
sites, chevrontoxico.com, and through that and other means, distributes false and
misleading statements as part of the RICO Defendants’ extortionate scheme.

Kohn and Kohn Swift are significant financial supporters of Amazon Watch.
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g. Atossa Soltani (“Soltani”) is the founder and executive director of Amazon Watch
and, in that capacity, Soltani repeatedly distributed false and misleading state-
ments about Chevron and the Lago Agrio Litigation as part of the RICO Defen-
dants’ extortionate scheme. She has also worked with Donziger, Yanza and other
RICO Defendants to coordinate the public pressure campaign against Chevron,
and to develop the RICO Defendants’ strategy of manipulating the Lago Agrio
court through intimidation and collusion with the Republic of Ecuador. Soltani is
a resident of California.

h. Rainforest Action Network (“RAN”) is a “non-profit” organization with its main
office at 221 Pine Street, San Francisco, California 94104. The organization spe-
cializes in boycotts, demonstrations, and other high-profile means of exerting
pressure on corporations that it perceives threaten the world’s rainforests. In
close concert with Amazon Watch (with which it shares a headquarters location),
RAN has organized demonstrations and boycotts against Chevron and distributed
false and misleading statements about Chevron and the Lago Agrio Litigation.
RAN also maintains at least one of the websites, changechevron.org, through
which the RICO Defendants distribute false and misleading statements.

i. Richard Stalin Cabrera Vega (“Cabrera”) is a mining engineer and court expert in
the Lago Agrio Litigation and a resident of Ecuador. The RICO Defendants se-
cured his appointment as a purportedly independent court expert in the Lago
Agrio Litigation. He was paid by the RICO Defendants and their co-conspirators
for his cooperation in signing a fraudulent report ghostwritten by the RICO De-
fendants and their co-conspirators and he has repeatedly misrepresented his inde-
pendence.

j. Alberto Wray (“Wray”) is the former counsel of record for the plaintiffs in the
Lago Agrio Litigation and is a resident of Washington, D.C. Wray previously

served on Ecuador’s Supreme Court and has significant political connections in
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Ecuador. The RICO Defendants have used Wray’s connections to procure the
sham criminal investigations of Chevron’s attorneys.

k. Cristébal Bonifaz (“Bonifaz”) of the Law Offices of Cristébal Bonifaz was coun-
sel of record for plaintiffs in two actions that were filed in the Southern District of
New York, Aguinda v. Texaco, Inc., No. 93 Civ. 7527 (S.D.N.Y. Nov. 3, 1993),
and Jota v. Texaco, Inc., No. 94 Civ. 9266 (S.D.N.Y. Dec. 28, 1994). Bonifaz is a
resident of Massachusetts. Until in or about 2006, Bonifaz was also a consulting
attorney for the Front, and purportedly the named plaintiffs, in the Lago Agrio
Litigation.

1. Karen Hinton (“Hinton”) is a spokeswoman for the Front in the United States and
is a resident of Virginia. Hinton assisted the RICO Defendants in the develop-
ment of their public pressure campaign and, often in concert with Amazon Watch,
has authored false and misleading press releases and media statements about the
Lago Agrio Litigation in furtherance of the RICO Defendants’ extortionate
scheme.

m. E-Tech International (“E-Tech”) is an environmental consulting firm located at
231 Las Mananitas, Santa Fe, New Mexico 87501. E-Tech provided various en-
vironmental consulting services to the RICO Defendants and helped the RICO
Defendants secretly draft Cabrera’s work plan and otherwise colluded with
Cabrera.

n. Burford Capital Limited, Burford Group Limited, and Burford Group LLC (col-
lectively, “Burford’’) are associated entities in the business of litigation finance.
Burford Capital Limited is registered in the Bailiwick of Guernsey and is publicly
traded on the London Stock Exchange’s AIM Market. Burford Group Limited is
also a Guernsey corporation, and it operates in the United States through its sub-

sidiary Burford Group LLC, which has its principal office at 1185 Avenue of the
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Americas, New York, NY 10036. Burford began funding the Lago Agrio Litiga-
tion in 2010.

o. Russell DeLeon (“DeLeon”) is a law school friend of Donziger’s and entrepre-
neur whose businesses include PartyGaming Pic, an online gambling company
headquartered in Gibraltar. DeLeon has funded the RICO Defendants’ activities
for several years, providing over $1 million in support, and has made payments
directly to Ecuadorians including Pablo Fajardo and others.

p. Emery Celli Brinckerhoff & Abady LLP (“Emery Celli”) is a law firm located at
75 Rockefeller Plaza, 20th Floor, New York, New York 10019. Emery Celli has
spearheaded the RICO Defendants’ obstruction and cover-up efforts in the United
States, filing numerous meritless filings in opposition to Chevron’s discovery
proceedings in U.S. courts in an express effort to delay those proceedings and
“buy time” for the RICO Defendants’ criminal scheme.

q. Patton Boggs LLP (“Patton Boggs”) is a law firm with its principal office at 2550
M Street, NW, Washington D.C. 20037. Patton Boggs has developed the RICO
Defendants’ strategy for pursuing the assets of Chevron and its subsidiaries
around the world on the basis of a fraudulent judgment in Ecuador, and has also
been instrumental in the cover-up and obstruction of Chevron’s U.S. discovery
proceedings.

r. Motley Rice LLC (“Motley Rice”) is a law firm with an office located at One
Corporate Center, 20 Church St., Hartford, Connecticut 06103. Motley Rice has
participated in the obstruction of Chevron’s U.S. discovery efforts.

18. At all relevant times, each and every non-party named in paragraph 17 was act-
ing in concert with, or as an agent for, one or more of the RICO Defendants and, further, as de-
scribed in more detail below, conspired with one or more of the other RICO Defendants to per-

form the acts averred herein.

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Remaining Defendants

19. The Lago Agrio Litigation was ostensibly brought on behalf of forty-eight
named individual Ecuadorians,? referred to herein as the Lago Agrio Plaintiffs. They seek no
individual damages in the Lago Agrio Litigation, and the signatures for twenty of the Lago Agrio
Plaintiffs'‘on the power of attorney form submitted along with the complaint in the Lago Agrio
Litigation are the product of forgery. Whether or not the individual Lago Agrio Plaintiffs were
or are aware of the fraud that has been perpetrated by the RICO Defendants and their co-
conspirators in their names, the Lago Agrio Plaintiffs cannot benefit from the fraud and corrupt
acts perpetrated ostensibly on their behalf.

20. At all relevant times, the Lago Agrio Plaintiffs have been individuals residing in
the Republic of Ecuador. The Lago Agrio Plaintiffs are those individuals identified in Appendix
A to this Complaint, which is incorporated by reference as if set forth herein in its entirety.

SUBJECT MATTER JURISDICTION AND VENUE

21. This Court has subject matter jurisdiction over Chevron’s claims under
28 U.S.C. §§ 1331 and 1332, and under 18 U.S.C. § 1964(c). Chevron’s first claim for relief
arises under 18 U.S.C. § 1961 et seg., as hereinafter more fully appears. There is also complete
diversity of citizenship between the parties, and the amount in controversy exceeds $75,000, ex-
clusive of interest and costs. Chevron’s state law claims arise out of the same case or contro-
versy as its federal law claims, as all claims in this action arise out of a common nucleus of op-
erative facts. Thus, this Court also has supplemental jurisdiction over Chevron’s state law claims
under 28 U.S.C. § 1367.

22. Venue is proper in this District under 28 U.S.C. § 1391(b)(2), as a substantial
number of the events giving rise to this action occurred in this District, and also under 18 U.S.C.

§ 1965.

 

2 One of these individuals, Esteban Lusitante Yaiguaje, is now deceased and thus is not named
as a defendant in this case.

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PERSONAL JURISDICTION

23. Exercise of jurisdiction over Defendant Donziger is reasonable and proper in this
District because Donziger is a citizen of the State of New York and because he conducts exten-
sive business activities within the State. Donziger is the sole proprietor of the Law Offices of
Steven R. Donziger, which is located and does business in New York. Through his activities in
New York, Donziger has served as the ringleader in the enterprise to defraud and extort Chevron,
working closely with the other RICO Defendants in this action. For Chevron’s claims for viola-
tions of 18 U.S.C. § 1962 and New York state law, exercise of jurisdiction over Donziger is
proper pursuant to 18 U.S.C. § 1965(a) and N.Y. C.P.L.R. § 301.

24. Exercise of jurisdiction over the Law Offices of Steven R. Donziger is reason-
able and proper in this District because the Law Offices of Steven R. Donziger is a citizen of
New York, and because it conducts extensive business activities in the State. Further, by and
through the activities of Donziger described above, the Law Offices of Steven R. Donziger has
served as a key player in the conspiracy against Chevron. For Chevron’s claims for violations of
18 U.S.C. § 1962 and New York state law, exercise of jurisdiction over the Law Offices of Ste-
ven R. Donziger is proper pursuant to 18 U.S.C. § 1965(a) and N.Y. C.P.L.R. § 301.

25. Defendants Stratus, Beltman, and Maest are all residents of the United States.
For Chevron’s claims for violations of 18 U.S.C. § 1962, the exercise of jurisdiction over each of
these defendants is proper in this District pursuant to 18 U.S.C. § 1965(b). The ends of justice
require application of the nationwide service provisions of 18 U.S.C. § 1965(b) because there is
no district in which all of the RICO Defendants could otherwise be tried together. For Chevron’s
claims under New York state law, exercise of jurisdiction over Defendants Stratus, Beltman, and
Maest is proper pursuant to N.Y. C.P.L.R. § 302. Through their agents and co-conspirators, De-
fendants Stratus, Beltman, and Maest have transacted and continue to transact business in the
State of New York, and there is a substantial nexus between Defendants Stratus, Beltman, and

Maest’s purposeful availment of the New York forum and Chevron’s claims.

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26, Exercise of jurisdiction over Fajardo is proper pursuant to 18 U.S.C. § 1965(b)
and N.Y. C.P.L.R. § 302. Fajardo has transacted business and engaged in tortious conduct in the
United States and New York which give rise in part to Chevron’s claims. Among other things,
Fajardo (i) met with his co-conspirators in the United States multiple times to plan the ghostwrit-
ing of the Cabrera Report, including trips to New York to meet with Donziger and to Boulder,
Colorado; (ii) acted in the United States and New York to conceal the conspiracy and fraud, in-
cluding falsely testifying in In re Application of Chevron, Case No. 10 MC 00002 (S.D.N.Y.
Aug. 6, 2010) that Cabrera was “independent” while knowing the RICO Defendants’ role in
Cabrera’s appointment and reports (see id., Dkt. 31 at Ex. 46); (iii) solicited and obtained funds
for the Lago Agrio Litigation while in the United States and, on information and belief, in New
York; and (iv) caused to be filed in the Southern District of New York an action on behalf of the
Lago Agrio Plaintiffs to stay the international arbitration that Chevron initiated pursuant to the
United States-Ecuador Bilateral Investment Treaty (the “Treaty Arbitration”), Yaiguaje et al. v.
Chevron Corp. and Texaco Petroleum Co., No. 10 CV 316 (LBS) (S.D.N.Y. Jan. 14, 2010)
(““Yaiguaje’’). Fajardo has also engaged in intentional, wrongful, illegal, and/or tortious acts the
effects of which Fajardo knew and intended would be felt in the United States and New York.
For example, Fajardo has (i) directed a multitude of phone calls, emails, and other forms of
communication to his co-conspirators in the United States and New York for the purpose of
planning and carrying out their conspiracy and fraud; and (i1) participated in and orchestrated
campaigns in the United States and New York to influence United States federal officials, State
of New York officials, financial analysts, investors, and stockholders for the purpose of extorting
money from Chevron. Also, as set forth more fully herein, Fajardo’s co-conspirators and agents
have engaged in intentional, wrongful, illegal, and/or tortious acts in the United States and New
York. Fajardo was aware of the effects in the United States and New York of those acts, the ac-
tivities of Fajardo’s co-conspirators and agents were to the benefit of Fajardo, and his co-
conspirators and agents were working at the direction, under the control, at the request, and/or on

behalf of Fajardo in committing those acts.

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27. Exercise of jurisdiction over Yanza is proper pursuant to 18 U.S.C. § 1965(b)
and N.Y. C.P.L.R. § 302. Yanza has transacted business and engaged in tortious conduct in the
United States and New York which give rise in part to Chevron’s claims. Among other things,
Yanza (1) met with his co-conspirators in the United States multiple times to plan the ghostwnit-
ing of the Cabrera Report, including trips to New York to meet with Donziger and to Boulder,
Colorado; (11) caused funds to be transferred within the United States and from the United States
to Ecuador in furtherance of the RICO Defendants’ wrongful activities; (111) attended Chevron
shareholder meetings to attempt to pressure Chevron’s stockholders and board of directors in fur-
therance of the conspiracy; (iv) solicited and received funds for the Lago Agrio Litigation while
in the United States and, on information and belief, in New York and from persons in the United
States and New York directly and through agents by other means for the purpose of carrying out
the conspiracy and fraud; (v) attempted to conceal the conspiracy and fraud by making false and
misleading statements in the United States and elsewhere; and (vi) caused to be filed in the
Southern District of New York the Yaiguaje action on behalf of the Lago Agrio Plaintiffs to stay
the Treaty Arbitration initiated by Chevron. Yanza has also engaged in intentional, wrongful,
illegal, and/or tortious acts the effects of which Yanza knew and intended would be felt in the
United States and New York. For example, Yanza has (1) directed multitudes of phone calls,
emails, and other forms of communication to his co-conspirators in the United States and New
York for the purpose of planning and carrying out their conspiracy and fraud; and (11) partici-
pated in and orchestrated campaigns in the United States and New York to influence United
States federal officials, State of New York officials, financial analysts, investors, and stockhold-
ers for the purpose of extorting money from Chevron. Also, as set forth more fully herein,
Yanza’s co-conspirators and agents have engaged in intentional, wrongful, illegal, and/or tortious
acts in the United States and New York. Yanza was aware of the effects in the United States and
New York of those acts, the activities of Yanza’s co-conspirators and agents were to the benefit
of Yanza, and his co-conspirators and agents were working at the direction, under the control, at

the request, and/or on behalf of Yanza in committing those acts.

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28. Exercise of jurisdiction over the Front is proper pursuant to 18 U.S.C. § 1965(b)
and N.Y. C.P.L.R. § 302. The Front has been designated trustee in the Lago Agrio Litigation
and stands to benefit from any fraudulent judgment entered against Chevron. Yanza is the
Front’s co-founder, Fajardo is a leader within the organization, and at all times relevant herein
Yanza and Fajardo were acting as the Front’s co-conspirators, agents and/or alter egos in perpe-
trating the conspiracy and fraud against Chevron. By and through its co-conspirators, agents
and/or alter egos Yanza and Fajardo, the Front has transacted business and engaged in tortious
conduct in the United States and New York which give rise in part to Chevron’s claims, as set
forth more fully above. The Front has also engaged in intentional, wrongful, illegal, and/or tor-
tious acts the.effects of which the Front knew and intended would be felt in the United States and
New York. Among other things, the Front: (i) directed multitudes of phone calls, emails, and
other forms of communication to its co-conspirators in the United States and New York for the
purpose of planning and carrying out their conspiracy and fraud; (ii) maintains or causes to be
maintained a website intentionally directed towards a U.S.-based audience called
www.texacotoxico.org through which the Front has attempted to conceal the conspiracy and
fraud by making false and misleading statements and, on information and belief, raised funds
from the United States and New York for the purpose of carrying out the conspiracy and fraud;
(iii) solicited and received funds from persons in the United States and New York directly and
through agents by other means for the purpose of carrying out the conspiracy and fraud; (iv) used
Amazon Watch as its public relations firm in the United States to publish false and misleading
statements to conceal the conspiracy and fraud; and (v) hired a Washington, D.C.-based lobbyist
to pursue its and its co-conspirators’ interests before the U.S. Congress. Also, as set forth more
fully herein, the Front’s co-conspirators and agents have engaged in intentional, wrongful, ille-
gal, and/or tortious acts in the United States and New York. The Front was aware of the effects
in the United States and New York of those acts, the activities of the Front’s co-conspirators and

agents were to the benefit of the Front, and its co-conspirators and agents were working at the

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direction, under the control, at the request, and/or on behalf of the Front in committing those
acts.

29. Exercise of jurisdiction over Selva Viva is proper pursuant to 18 U.S.C.

§ 1965(b) and N.Y. C.P.L.R. § 302. Donziger is or has been the President of Selva Viva, Yanza
is or was the General Manager of Selva Viva, and at all times relevant herein Donziger, Yanza
and Fajardo were acting as Selva Viva’s co-conspirators, agents and/or alter egos in perpetrating
the conspiracy and fraud against Chevron. By and through its co-conspirators, agents and/or al-
ter egos Donziger, Yanza and Fajardo, Selva Viva has transacted business and engaged in tor-
tious conduct in the United States and New York which give rise in part to Chevron’s claims, as
set forth more fully above. Selva Viva has also directly transacted business and engaged in tor-
tious conduct in the United States which give rise in part to Chevron’s claims. The RICO De-
fendants use or have used Selva Viva as a conduit for funding their wrongful activities in Ecua-
dor. Selva Viva has solicited and received several payments from Kohn Swift in the United
States in order to fund the Lago Agrio Litigation, and some of those payments were subsequently
channeled to Cabrera from a Selva Viva bank account. Also, as set forth more fully herein,
Selva Viva’s co-conspirators and agents have engaged in intentional, wrongful, illegal, and/or
tortious acts in the United States and New York. Selva Viva was aware of the effects in the
United States and New York of those acts, the activities of Selva Viva’s co-conspirators and
agents were to the benefit of Selva Viva, and its co-conspirators and agents were working at the
direction, under the control, at the request, and/or on behalf of Selva Viva in committing those
acts.

30. Exercise of jurisdiction over the Lago Agrio Plaintiffs is proper pursuant to N.Y.
C.P.L.R. §§ 301-02 because the Lago Agrio Plaintiffs have purposefully availed themselves of
the New York forum by purportedly engaging New York attorneys and instituting and otherwise
participating in related litigation in this District. The Lago Agrio Plaintiffs have reportedly hired
Defendant Donziger, a New York attorney, to represent their interests in the Lago Agrio Litiga-

tion. Additionally, they have reportedly hired co-conspirator Emery Celli, a New York law firm,

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to represent them in litigation pending in this Court and elsewhere in the United States. On Janu-
ary 14, 2010, the Lago Agrio Plaintiffs were the named plaintiffs in an action filed in this Court
against Chevron to stay the Treaty Arbitration that Chevron initiated to obtain relief for the Re-
public of Ecuador’s violations of its obligations under the United States-Ecuador Bilateral In-
vestment Treaty, investment agreements, and international law, including Ecuador’s failure to
abide by the negotiated settlement and releases relating to the remediation of the former conces-
sion area. See Yaiguaje, No. 10 CV 316 (LBS) (S.D.N.Y. Jan. 14, 2010), Transcript of Hearing,
Mar. 10-11, 2010. The Lago Agrio Plaintiffs have also intervened in Chevron’s 28 U.S.C.

§ 1782 proceedings in this Court (and in other federal district courts) by filing various motions
and briefs as “interested parties.” The Lago Agrio Plaintiffs’ involvement in the § 1782 proceed-
ings in this Court caused Judge Kaplan to specifically find that “they [have] subjected them-
selves to the personal jurisdiction of this Court.” Jn re Application of Chevron, 10 MC 00001
(LAK) (S.D.N.Y. July 22, 2010), 9/7/2010 Order at 23. There is a substantial nexus between the
Lago Agrio Plaintiffs’ purposeful availment of the New York forum and Chevron’s claims under
New York state law. For such claims, exercise of jurisdiction over the Lago Agrio Plaintiffs is

therefore proper pursuant to N.Y. C.P.L.R. §§ 301-02.

FACTUAL BASIS FOR CLAIMS
A. Background
31. This Complaint details how a group of U.S. plaintiffs’ lawyers, together with
U.S. and Ecuadorian co-conspirators, set about fraudulently exploiting images of environmental
degradation in rural Ecuador to extort money from a U.S. company in a criminal scheme. Many
of the quotations included in this Complaint were captured in video footage in the making of
Crude: The Real Price of Oil, a film commissioned by the RICO Defendants and their co-

conspirators in furtherance of their criminal scheme.

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1. TexPet Participates in Ecuador’s State Oil Consortium and Negotiates
Release From Liability in Return for Specified Remediation

32. In 1964, Ecuador granted oil exploration and production rights (known as a
“concession”) in a designated part of the Oriente region of Ecuador to Texaco Petroleum Com-
pany (““TexPet”) and the Ecuadorian Gulf Oil Company (“Gulf”), which then formed what came
to be known as the consortium. Ecuador’s state-owned oil company, Petroecuador (formerly
known as Corporacion Estatal Petrolera Ecuatoriana or CEPE), became a stakeholder in the con-
sortium in 1974 and, on December 31, 1976, it became the 62.5% majority stakeholder.

33. When the consortium began its exploration activities, TexPet and Gulf agreed
that TexPet would serve as the operator on behalf of both companies. As operator, and per the
terms of the 1965 Napo Joint Operating Agreement that governed the internal workings of the
consortium, TexPet was “in direct charge of carrying out the [p]arties’ work obligations and per-
forming other duties” with their prior consent and approval. Each party was obligated to provide
operating expenses and investment funds according to their ownership interest in the consortium.
TexPet was required to render its services as operator at cost and, in consideration therefore, was
to be indemnified and held harmless by the parties for any claims brought by third parties arising
out of or related to its performance as operator.

34. Once Petroecuador entered the consortium and after it became the majority
owner, TexPet continued to serve as operator. As majority owner, however, Petroecuador con-
tributed 62.5 percent of the consortium’s investments and operating costs and approved al] an-
nual work programs and budgets. Petroecuador retained oversight of TexPet’s activities as op-
erator beyond the annual budgeting cycles by approving projects as they were implemented and
answering monthly “cash calls” with the funds necessary for each month’s operating expenses.

35. TexPet continued in the role of operator until 1990 when Petroecuador assumed
operations. In 1992 when the concession contract expired, Petroecuador took over 100% owner-
ship of the former consortium fields and facilities. TexPet has not operated any oilfields in Ec-

uador since 1990, and has had no ownership interest in any oilfield operations in Ecuador since

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1992. From 1992 to the present, Petroecuador has been the sole owner and operator of the for-
mer concession area.

36. Before its termination, the consortium’s activities generated over US$23 billion.
The Republic of Ecuador retained 97.3% of this amount, however, through an array of income
taxes, royalties, contributions for domestic consumption, and gross profit on Petroecuador’s
share. The money generated by the consortium represented more than 50% of Ecuador’s gross
national product during that period.

37. TexPet’s total profits over the life of the consortium were a small fraction of
those realized by Ecuador—less than US$500 million.

38. Since Petroecuador took over operational control in 1990, it has drilled 414 new
wells—almost 30% more than were drilled during TexPet’s 25 years as the operator—and, ac-
cording to Ecuadorian public media sources, was responsible for more than 1,400 disclosed spills
from 2000 to 2008 alone. Petroecuador’s environmental record has prompted Ecuador’s current
President, Rafael Correa to comment that Petroecuador “has dreadful environmental manage-
ment practices.”

39. Defendant Fajardo—before he realized that such candor might undercut the con-
spiracy’s attempts to extort Chevron—also spoke out against Petroecuador’s environmental re-

cord:

[Petroecuador is] unreliable because what Petro[ecuador] says is one thing and
what it does is the complete opposite. Since Texaco left here, Petro[ecuador] has
inflicted more damage and many more disasters than Texaco itself. But they’d
never, ever say that. So there’s one spill after another; there’s broken pipes,
there’s contamination of wetlands, of rivers, of streams in great magnitude. But
since it’s a state-owned company, since it’s the same people involved in the laws
and all, no one says a thing.

40. When Petroecuador took over as operator of the consortium in 1990, TexPet
consented to Ecuador’s request that it collaborate with Petroecuador to conduct an environmental
audit of the consortium’s oil fields. TexPet insisted, however, that Petroecuador, as majority

owner of the consortium, share responsibility for any necessary remediation that the audit identi-

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fied in the same manner as the parties had shared all operating costs. Ecuador acknowledged
that TexPet was responsible for only its 37.5% share of the costs of remediating the environ-
mental impact of the consortium’s operations, and the parties recognized that TexPet could not
be held responsible for the environmental impact of oil field operations conducted after its con-
cession rights expired in 1992.

41. In 1994, Ecuador publicly rejected the preliminary findings of the independent,
joint audit and threatened to bring suit against TexPet for injuries to Ecuador’s environment.
Ecuador further informed TexPet that Petroecuador would not participate with TexPet in con-
ducting environmental remediation because it lacked the necessary money to fund its share of the
work. Thus, instead of identifying remediation work to be funded jointly, Ecuador insisted that
the parties identify a set of remediation obligations corresponding to TexPet’s share of responsi-
bility.

42. On or about December 14, 1994, Ecuador, Petroecuador, and TexPet entered
into a Memorandum of Understanding (“MOU”) in which they agreed to define TexPet’s “Scope
of the Work of Environmental Reparation” with respect to the “biotic” and “abiotic” environ-
ment, and also secured from TexPet a commitment to “carry out socio-economic compensation
projects in order to address problems . . . stemming from the oil operations. . . .”. This compensa-
tory effort would accrue to the benefit not of the government in a narrow sense, but rather of the
larger population. In fact, elsewhere, the document expressly underscores that these projects had
to “tak[e] into account the residents of the Oriental Region.” In exchange, the MOU obligated
Ecuador to “negotiate the full and complete release of TexPet’s obligations for environmental
impact arising from the operations of the Consortium.”

43. The MOU furthered Ecuador’s own constitutional duties toward its citizens.
Under Article 19(2) of the extant Constitution, the authority to vindicate any environmental
rights on behalf of the Ecuadorian people was held exclusively by the Government of Ecuador.
According to the Ecuadorian Ambassador to the United States, “It is the Republic’s obligation to

become involved in matters that directly impact the welfare of Ecuadorian citizens, territory and

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natural resources, and the very sovereignty of the Republic of Ecuador. The recent agreement
between the Republic, Petroecuador and Texaco Petroleum Company, which was reviewed and
supported by the Ecuadorian Congress, . .. demonstrates the Republic’s determination to fulfill
this obligation.”

44. Thus, as TexPet was winding-down its operations, an Environmental Committee
of the Ecuadorian Congress insisted that any settlement agreement between TexPet and Ecuador
“indemnify or alleviate the negative environmental effects caused . . . to the Ecuadorian popula-
tion living in [the] Amazonian region,” and stressed, to that end, that TexPet had to provide
compensation in the “biotic, abiotic and socio-economic areas,” and, with an “atmosphere of
consensus[,] . . . tak[e] into consideration the inhabitants and authorities in the region.” TexPet
and the representatives of Ecuador and Petroecuador “t[ook] into consideration” the comments
and suggestions from the Ecuadorian Congress. Local politicians from the Oriente region also
played what they saw as a “leading role as the interested party” in the “negotiations to reach an
understanding between Texaco and the Ecuadorian Government regarding environmental reme-
diation in the Amazon.”

45. Defendant the Front also openly and actively participated in the negotiation of
this settlement between TexPet and Ecuador. Defendant Yanza, President of the Front, sought
an “audience” with the President of Ecuador “to explain directly the situation” of the people of
the Oriente whom he purported to represent, so that their situation “may be taken into considera-
tion when signing the agreements with [TexPet].” Yanza later submitted his group’s “proposal”
for defining the scope of work, which he claimed represented “far-reaching and vigorous work to
reach consensus” among the population. Reflecting this cooperation with groups like the Front,
Ecuadorian officials recently repeated, under oath, that the negotiations leading to these settle-
ments were “open for all those who wanted to attend,” and members of many environmental or-
ganizations, including the Front, did attend. These governmental officials saw themselves as the
“facilitator[s]” of an open dialogue between the communities and TexPet, and followed orders

from the “National Congress to take into account the problems that Amazonian groups were hav-

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ing.” As a result of this dialogue, the environmental groups were “behind everything that was
being done,” leading to a final instrument that considered and accounted for the interests of indi-
viduals and communities in the concession areas. When the MOU was opened to public scru-
tiny, and while the Scope of Work was being defined, the Front was one of the groups that wrote
to the Ministry of Energy and Mines to express their “agree[ment] that the process of under-
standing [between Ecuador and TexPet] and the immediate performance of the environmental
remediation work should continue.”

46. Pursuant to the terms of the MOU, on or about March 23, 1995, Ecuador,
Petroecuador, and TexPet executed a precise “Scope of Work” identifying the particular sites and
projects that would constitute TexPet’s remediation obligations, consistent with TexPet’s former
one-third ownership share of the consortium. The “Scope of Work” required the performance of
not only a vast remediation effort by TexPet, but also a number of socioeconomic projects, in-
cluding the payment of $1 million to a redress fund to “be used for the rehabilitation of the areas
affected, establishing, together with the population, viable systems for the use of renewable natu-
ral resources, and . . . to improve the quality of life.” The Ministry of Energy and Mines re-
ceived that money, and was entrusted to administer the fund “for the benefit of the Indigenous
Communities of the Amazonian region.” TexPet also financed the establishment of education
and medical centers in the Oriente, together with “logistical support” for those centers such as
ambulances and aircraft.

47. Following the execution of the Scope of Work, on or about May 4, 1995, Ecua-
dor, Petroecuador, and TexPet executed a settlement agreement (the “1995 Settlement Agree-
ment”). In consideration for its release from any future responsibility for environmental impacts,
TexPet agreed to perform the defined “Environmental Remedial and Mitigation Work” and pro-
vide “socio-economic compensation” for the affected areas. The 1995 Settlement Agreement
immediately “release[d], acquit[ted] and forever discharge[d]” TexPet from all claims based on
“Environmental Impact” from the consortium’s activities at sites not included in the Scope of

Work and provided that TexPet would be released from any “Environmental Impact” associated

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with the sites covered by the Scope of Work upon completion of the prescribed remediation at
each site. In other words, because Petroecuador continued to operate the oil fields, it assumed
any residual or future responsibility, recognizing both its share of the past, as the former consor-
tium’s majority owner, and its control over the future, as sole owner and operator going forward.

48. The settlement was purposefully broad. “Environmental Impact” was defined as
“Ta]ny solid, liquid or gaseous substance present or released into the environment in such con-
centration or condition, the presence or release of which causes, or has the potential to cause
harm to human health or the environment.” Reflecting this breadth of coverage, the release “in-
clude[ed] but [was] not limited to consequences of all types of injury that the Government or
Petroecuador may allege-concerning persons, properties, business, reputations, and all other
types of injuries that may be measured in money, including but not limited to, trespass, nuisance,
negligence, strict liability, breach of warranty, or any other theory or potential theory of recov-
ery.” The claims expressly released also included all “causes of action under Article 19-2 of the
[1978] Political Constitution of the Republic of Ecuador,” which, as discussed in paragraph 43,
supra, placed the “duty [on] the State” to “oversee the preservation of nature” and guarantee all
Ecuadorians “[t]he right to live in a pollution-free environment.” The 1995 Settlement Agree-
ment was signed by Abril Ojeda, Ecuador’s Minister of Energy and Mines; Federico Vintimilla
Salcedo, Executive President of Petroecuador; Ricardo Reis Veiga, Vice President of TexPet;
and Rodrigo Pérez Pallares, legal representative of TexPet.

49. The 1995 Settlement Agreement also obligated TexPet “to continue negotia-
tions” with certain municipalities in eastern Ecuador that had also brought suit against the com-
pany. Filing materially identical complaints, the municipalities of Joya De Los Sachas, Orellana,
Shushufindi, and Lago Agrio had each sued TexPet in 1994 in order to protect “the health of
[their] citizens, the rivers of [their] communities.” These municipalities purported to fulfill their
quasi-sovereign duties to assist the Republic in meeting its environmental obligations to all citi-

zens, and to exercise their own capacity to “carry out legal actions” necessary to protect the “col-

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lective needs of [their] community” of inhabitants, specifically those needs concerning health
and the environment.

50. In consideration for TexPet financing specified “social interest works,” each
municipality suit was settled in 1996, similarly “exempt[ing], releas[ing], exonerat[ing] and re-
liev[ing] forever” Texaco and TexPet “from any responsibility, claim, request, demand or com-
plaint, be it past, current or future, for any and all reasons related to” the consortium’s opera-
tions, “especially concerning damages possibly caused to the environment in said cantonal juris-
diction of the Municipality.” Each settlement agreement represented that the municipal govern-
ment had consulted “with the entities and organizations representing the community of its in-
habitants” in order to choose an appropriate reparation project. According to sworn statements
of the relevant government officials, each agreement met “the interests of The Community and
of its citizens as to any claims they may have against TEXPET.” All of these settlements were
“approve[d] . . . in full” by Ecuadorian courts because they “d[id] not violate any legal provi-
sion” and “cover[ed] all issues described in the [municipality] complaint[s].”

51. In addition to the national and municipal governments, two Provinces also set-
tled their potential claims against TexPet in the name of their residents and of the ecosystems
within their respective territories. In 1996, the provincial government of Sucumbios conferred
“with entities and organizations representing the community of its inhabitants” in order to select
an acceptable reparation project and avoid a potential lawsuit with TexPet. It ultimately de-
manded, “according to the interests of the community,” that TexPet fund “social interest works,”
viz., “provincial eco-production projects.” A Consortium of Municipal Mayors in the Napo
Province also endorsed a settlement contract that identified their potential disputes with TexPet
relating to “the oil concession,” and, especially, to “the impact or damages possibly caused to the
environment.” Like its counterparts in Sucumbios and at the national level, it negotiated and set-
tled with TexPet in order to safeguard environmental and communal entitlements. These agree-
ments with the municipalities and provinces shall be referred to herein collectively as the “1996

Municipality Releases.”

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52. Pursuant to the terms of the 1995 Settlement Agreement with Ecuador, TexPet
selected Woodward-Clyde, one of the largest environmental engineering firms in the world at the
time, from a list provided by Ecuador of acceptable contractors to perform the remediation.
Woodward-Clyde conducted additional investigations of the well sites listed in the Scope of
Work and developed a Remedial Action Plan, which identified the specific pits at each well site
requiring remediation under the criteria set out in the 1995 Settlement Agreement and specified
the remedial action to be taken at each site. Ecuador reviewed Woodward-Clyde’s Remedial Ac-
tion Plan and conducted its own investigation of the sites to confirm that it was consistent with
the MOU and the 1995 Settlement Agreement. In September 1995, Ecuador, Petroecuador,
TexPet, and Woodward-Clyde each approved and signed off on the Remedial Action Plan.

53. Between October 1995 and September 1998, Woodward-Clyde conducted all of
the remediation required by the 1995 Settlement Agreement and the Remedial Action Plan on
behalf of TexPet and at TexPet’s expense. The remediation work was monitored and supervised
by Petroecuador, the Ministries of Energy and Environment, and outside auditors. Ecuador is-
sued a series of official records called “ Actas” during this time certifying the adequacy of the
remediation work that it had supervised and evaluated on an ongoing basis. In all, TexPet spent
approximately $40 million (unadjusted dollars) on environmental remediation and community
development in Ecuador pursuant to the 1995 Settlement Agreement in exchange for the releases
granted by Ecuador.

54. On September 30, 1998, Ecuador, Petroecuador, and TexPet executed the Acta
Final (the “1998 Final Release”), certifying that TexPet had performed all of its obligations un-
der the 1995 Settlement Agreement, and thus fully releasing TexPet from any and all environ-
mental liability arising from the consortium’s activities except for individual personal injury
claims, such as to specific persons or property, which the parties understood as not being covered
by the release. The 1998 Final Release was signed on behalf of Ecuador by Patricio Ribadeneira,

the Minister of Energy and Mines; on behalf of Petroecuador by Ramiro Gordillo, Executive

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Chairman, and by Luis Alban Granizo, Manager of Petroproduccién; and on behalf of TexPet by
Rodrigo Pérez Pallares and Ricardo Reis Veiga.

55. The validity of these agreements has been publicly acknowledged by the Repub-
lic of Ecuador, and—recently—by the Lago Agrio Plaintiffs as well. As noted above, supra
paragraphs 43 and 48, at the time the 1995 Settlement Agreement and the 1998 Final Release
were executed, the Republic of Ecuador was the only legal person or entity with standing to rep-
resent and assert legal claims for environmental damage. Ecuador, and only Ecuador, could de-
mand environmental remediation; individuals could only assert individual property damage or
personal injury claims. Accordingly, TexPet’s settlement with Ecuador and the affected munici-
palities and provinces fully discharged TexPet from any responsibility or liability that may have
existed for environmental impact as a result of the consortium’s activities, except individual per-

sonal injury claims.

2. US. Plaintiffs’ Lawyers Devise Baseless Litigation Against Chevron in
Ecuador
56. Certain plaintiffs’ attorneys in the United States sought to exploit any environ-

mental harm in the Oriente region by turning it into a financial windfall for themselves. These
U.S. plaintiffs’ attorneys (including Defendant Donziger and co-conspirators Kohn and Cristobal
Bonifaz), devised a plan to use TexPet’s former participation in the consortium as the basis for
extracting large sums of money from TexPet’s parent, Texaco, Inc. (“Texaco”). As Kohn de-
scribed his motivation, “[A]t the end of the day. . . , it [would] be a lucrative case for the firm.”
As Donziger described it, “I sit back and dream .... Billions of dollars on the table. A movie, a
possible book.” In other words, a financial windfall of unprecedented proportion, and one that
would make Donziger “quite wealthy.” According to Donziger’s estimates, he thought his “own
fee right now would be around 200m[illion].”

57. In 1993 and 1994, these U.S. plaintiffs’ attorneys filed two lawsuits against Tex-
aco in federal district court in New York, purportedly on behalf of classes of “30,000 residents”

of the Oriente and “25,000 residents” of Peru. See Aguinda v. Texaco, Inc., No. 93 Civ. 7527

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(S.D.N.Y. Nov. 3, 1993) (“Aguinda’’) and Jota v. Texaco, Inc., No. 94 Civ. 9266 (S.D.N.Y. Dec.
28, 1994) (“Jota”). Those actions were dismissed on grounds including forum non conveniens,
international comity, and failure to join indispensable parties Petroecuador and the Republic of
Ecuador.

58. Because Ecuador and Petroecuador had released TexPet from liability following
its remediation efforts and because Ecuadorian law does not allow class actions, the U.S. plain-
tiffs’ attorneys required the government’s cooperation to bring a potentially lucrative lawsuit in
Ecuador. The U.S. plaintiffs’ attorneys had no desire to sue Petroecuador or Ecuador for the
harms that had occurred—despite their actual culpability—because, as Defendant Donziger ex-
plained, “[T]he government here will never pay for any judgment. In contrast, Texaco can pay.”
In order to get the “juicy check” that, as Fajardo put it, was the ultimate goal, the U.S. plaintiffs’
attorneys struck a deal with the Ecuadorian government in order to bring an action against a con-
venient U.S. target.

59. The U.S. plaintiffs’ attorneys agreed not to sue Petroecuador and assured the
Republic of Ecuador that it would benefit from any judgment entered against Chevron in ex-
change for public and private governmental support for the U.S. plaintiffs’ attorneys’ case.

60. The U.S. plaintiffs’ attorneys presented Ecuador’s Attorney General with written
promises not to pursue legal action against the Republic of Ecuador or Petroecuador or to collect
a judgment against Ecuador if one were awarded to them. Bonifaz stated that “if the U.S. court
[in the Aguinda or Jota actions] finds both Petroecuador and Texaco guilty, we will not accept
the percentage of the claim assigned to [Petroecuador].” And he admitted that the Lago Agno
Plaintiffs had “committed in legal documents not to sue Ecuador.”

61. With reported legislative assistance from the U.S. plaintiffs’ attorneys, Ecuador
enacted the Environmental Management Act of 1999 (the “EMA”). For the first time, the EMA
enabled private individuals to bring generalized environmental injury claims previously held ex-
clusively by the state. It also extended standing for the first time to private citizens to enforce

“collective environmental rights” for environmental harm. These actions are private in name

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only, however, because the EMA provides that any monetary judgment be awarded to the
“community.”

62. With a new and highly advantageous legal framework thus in place, the U.S.
plaintiffs’ attorneys, joined and assisted by other RICO Defendants and their co-conspirators,
filed the Lago Agrio Litigation, Maria Aguinda et al. v. Chevron-Texaco, in May 2003 in the
Superior Court of Nueva Loja, Ecuador. As a result of the EMA, and the RICO Defendants’ at-
tempt to apply it retroactively, the Lago Agrio Litigation is unusual in structure. The ostensible
plaintiffs in the Lago Agrio Litigation are forty-eight named individuals, but it is unknown
whether these individuals consented to have the litigation brought in their name, as twenty of
their signatures were forged in the very document that purported to provide authority to Ecuador-
ian counsel to file the complaint.

63. The Lago Agrio Litigation does not seek damages based on personal injuries to
the named Plaintiffs, which, along with claims for individual property damage, is the only type
of claim individuals could bring (see § 55, supra). Rather, relying on the EMA, the complaint
seeks the costs of remediating broadly defined “environmental damages,” the proceeds of which
will not directly benefit the Lago Agrio Plaintiffs. Defendants Donziger, Fajardo and the other
U.S. and Ecuadorian lawyers and investors reportedly expect up to 30% of the judgment. The
Republic of Ecuador reportedly expects 90% of the benefit, although the RICO Defendants and
their co-conspirators have already laid out plans to “keep the proceeds out of Ecuador,” by plac-
ing the funds in a “trust” outside of the country. Some portion is expected to go to the Front, a
fact that Donziger thought “best if Chevron did not know” out of concern that it “could harm the
image” of the litigation. The individual Lago Agrio Plaintiffs, on the other hand, will not receive
any portion of the judgment, and thus are at most only nominal plaintiffs.

64. In effect, the RICO Defendants are planning to control nearly all of the proceeds
from any judgment, shutting out the Lago Agrio Plaintiffs, the Republic of Ecuador, and
Petroecuador and setting themselves up as a source of patronage through billions of dollars in

remediation contracts that will be issued following an adverse judgment against Chevron, in a

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country whose entire annual Gross Domestic Product is just over $64 billion. In an email ex-
change with Fajardo and Donziger, for example, co-conspirator Julio Prieto noted that “Petroec-
uador is NOT the one who must contract the remediation companies . . . . That’s our job.” And
when the RICO Defendants heard that the Republic of Ecuador might be considering negotiating
with Chevron directly, they pushed to have those conversations shut down, urging that no “repre-
sentative of the Ecuadorian government . .. meet face to face with a representative of Chevron at
this juncture[.]”

65. The Lago Agrio complaint does not name the entity that has been responsible for
environmental harm in the Oriente region since at least 1992: Petroecuador. Pursuant to their
agreement not to bring any claims against Petroecuador or the Republic of Ecuador itself, the
Lago Agrio Plaintiffs’ U.S. representatives caused Chevron to be named as the only defendant in
the Lago Agrio Litigation, despite the fact that Chevron has never operated in Ecuador. (Years
after TexPet ceased operations in Ecuador, one of Chevron’s subsidiaries merged with Texaco,

TexPet’s ultimate parent company. Chevron thereby became an indirect shareholder of TexPet.)

B. The Conspirators Are Corrupting the Judicial Process to Extort a Payment
From Chevron

66. The support of the Republic of Ecuador, the manipulation of the EMA, and the
filing of the Lago Agrio Litigation provided the U.S. lawyers with the foundation for their crimi-
nal scheme. Through the conduct of their criminal enterprise, the conspirators set about to
manufacture false evidence and a fake “history” that they would repeat in every media outlet,
before Congress, in front of state and federal investigative and administrative agencies, and with
which they would seek to scare and mislead Chevron shareholders and investors. All of this was
done in furtherance of their scheme to coerce Chevron into making a massive payoff to the
criminal enterprise. As part of this scheme, the conspirators keep “jack[ing] up,” in Donziger’s
words, their demand. In 2003, they thought $6 billion was an aggressive number. In 2008, they

raised the stakes to $16 billion, and then to $27 billion. Today, their claim is for $113 billion.

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67. ‘The RICO Defendants’ criminal scheme has three main lines of attack: One, in-
timidate or corrupt the Lago Agrio court and obtain a fraudulent judgment against Chevron based
on manufactured evidence of liability. Two, collude with the Republic of Ecuador to procure
sham criminal charges against Chevron’s attorneys. Three, conduct a massive public pressure
campaign designed to spread false and misleading information about Chevron and the Lago”
Agrio Litigation. The ultimate objective, in Donziger’s words, is to cause “damage to [Chev-
ron’s] reputation,” to put “personal psychological pressure [on] their top executives” through
threats and attacks through the media and force Chevron into a payoff.

68. Donziger has explained how the conspirators work to increase costs for Chevron

on all fronts until it gives in to their extortionate demands:

The work doesn’t let up just because I’m in the U.S., at all. I mean, it’s still really
intense, you know, so it’s always looking for ways to increase the leverage and
increase the cost to Chevron for not doing anything. So, what’s the cost? The
cost is, right now, it’s the cost of the risk of getting a huge multi-billion dollar
judgment at trial, . . . it’s the cost of all the hassle they have to put up with from

the environmental groups, . . . it’s the cost of their sullied reputation, you know, in
the media.
69. The RICO Defendants and their co-conspirators have shown no signs of stop-

ping their attack. Indeed, Donziger has threatened to try to enforce any fraudulent judgment ob-
tained in the Lago Agrio Litigation in the United States and in other foreign jurisdictions, observ-
ing that “Chevron operates in more than 100 countries and has numerous oil tankers that troll the
world’s waterways and dock in any number of ports... .” In a recent speech, Donziger asserted
that the conspirators are assembling a legal team to “seize assets, seize boats,” wherever Chev-
ron’s subsidiaries operate around the world—even though the Lago Agrio Plaintiffs previously
told this Court that Chevron’s defense against any Lago Agrio judgment should be restricted to
New York’s recognition act. Fajardo has likewise warned that the RICO Defendants plan to con-
fiscate Chevron’s assets in the United States in order to enforce the judgment. And Donziger has

also stated that the conspirators’ plan is to move on from Chevron and Ecuador and reprise their

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criminal scheme again and again: “take legal fees we can earn from this case and do more cases

like this in different places. With, you know, the same team, if possible.”

1. Pressuring the Lago Agrio Court and Manufacturing Evidence

a. Implementing Pressure Tactics and Colluding With Ecua-
dorian Government Officials

70. Central to the RICO Defendants’ and their co-conspirators’ scheme to defraud
and extort Chevron is the fact that Ecuador’s judiciary has developed systemic weakness and
corruption, in addition to other significant flaws and shortcomings. The conspirators are aware
of this fact, and have sought to exploit it. According to Donziger, “[T]he court is now in play, up
for grabs, and accessible.” Donzi ger has boasted that, unlike in the United States, the “game” is
“dirty” and there are “almost no rules” in Ecuador. Donziger and his co-conspirators have
sought repeatedly to capitalize on the Ecuadorian judiciary’s weakness, threatening violence,
bullying judges, and using political connections to obtain rulings in their favor based on the
judges’ fear of repercussions rather than the facts or law. Indeed, Donziger instructed one of his
co-conspirators: “Please prepare a detailed plan with the necessary steps to attack the judge
through legal, institutional channels and through any other channel you can think of.” Attacking
the judge was necessary, because, as Donziger put it: “[T]he only way the court will respect us
is if they fear us—and ... the only way they will fear us is if they think we have [s]ome control
over their careers, their jobs, their reputations—that is to say, their ability to earn a livelihood.”
This fear and “constant pressure on the judge and the court” is essential to the RICO Defendants’
and their co-conspirators’ plan to obtain “a fast decision.” With assistance from the highest lev-
els of the Ecuadorian government, the RICO Defendants and their co-conspirators have all but
assured that a favorable but corrupt and fraudulent judgment from the Lago Agrio court is forth-
coming.

71. The RICO Defendants and their co-conspirators do not view the enterprise in
which they are engaged as a lawsuit. As Donziger has explained, the litigation “is not a legal

case,” but a “political battle that’s being played out through a legal case.” In other words,

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Donziger and his co-conspirators knew that what “we need to do is to get the politics in order. . .
[because] the only way we’re going to succeed, in my opinion, is [i]f the country gets excited
about getting this kind of money out of Texaco .... So you have to play to those . . . themes,
[with] those feelings these people have.” Consistent with this strategy, Donziger and the other
RICO Defendants know that their “success” will have nothing to do with pursuing the Lago
Agrio Litigation on the merits, but rather will depend on using that “litigation” as a vehicle or
pretense with which to attack Chevron in the media and before U.S. governmental bodies and
shareholders and force it into paying them off. In Donziger’s own words, the conspirators have
conducted the Lago Agrio Litigation as a “flat-out street brawl, extreme fighting through litiga-
tion” in which he and his co-conspirators are seemingly “only a short step away from smashing
the faces of our counterparts with a closed fist, or taking out guns[.]”

72. Donziger has acknowledged the RICO Defendants’ and their co-conspirators’
use of “pressure tactics” to influence and intimidate the Ecuadorian judiciary. Donziger admitted
that such tactics are “something you would never do in the United States. . .. But Ecuador, you
know ... this is how the game is played, it’s dirty.” Donziger further declared that “there’s al-
most no rules here” and that “the only language that I believe, this judge is gonna understand is
one of pressure, intimidation and humiliation. And that’s what we’re doin’ today. We’re gonna
let him know what time itis. ... We’re going to scare the judge, J think today.” These fear tac-
tics are effective, according to Donziger, because Ecuadorian judges “are really not very bright”
and “make decisions based on who they fear the most, not based on what the laws should dic-
tate.” In fact, when an associate suggested to Donziger that no judge would rule against them
because “[h]e’l] be killed,” Donziger replied that, although the judge might not actually be killed
if he ruled against them, “he thinks he will be... . Which is just as good.” As a colleague told
Donziger, “The only way we will win this case is if the judge thinks he will be doused with gaso-
line and burned if he rules against us.” Donziger stated that this comment did not shock him.
Donziger further asserted: “[The judges] don’t have to be intelligent enough to understand the

law, just as long as they understand the politics.” And according to Donziger, “no judge can rule

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against us and feel like he can get away with it in terms of his career.” These threats are made all
the more real given the prevalence of violence in the Oriente region of Ecuador. Indeed, Fajardo
has acknowledged that paid assassins in the Oriente will kill someone for as little as $60, and the
region is known to harbor elements of the terrorist group FARC.

73. As part of their strategy to intimidate and coerce the Lago Agrio court, the RICO
Defendants and their co-conspirators plotted to raise what they called their own “private army,” a
“specialized group” detailed “to watch over the court,” for which, “if we need weapons, we can
provide weapons.” According to Fajardo, it was “necessary” for the RICO Defendants and their
co-conspirators to “organize pressure demonstrations at the court” that will be a “little bit aggres-
sive” in order to “teach the court a lesson.” During one meeting in which the “private army” was
discussed, Defendants Donziger and Yanza along with Amazon Watch founder Soltani and
Kevin Koenig, Amazon Watch’s Northern Amazon Program Coordinator, discussed their plans
to organize and finance attempts “to control the court, to pressure the court.” Donziger elabo-
rated that the conspirators “want to send a message to the court that, ‘don’t f]|**]k with us any-
more—not now, and not—not later, and never.’” He observed that, “no one fears us nght now.
And, until they fear us, we’re not gonna win this case. I’m convinced.” Accordingly, the con-
spirators planned to “take over the court with a massive protest,” with the goal of “shut[ting] the
court down for a day.” According to Donziger, “[O]nly after that should we talk to the judge
about what he needs to do. The judge needs to fear us for this to move how it needs to move,
and right now there is no fear, no price to pay for not making these key decisions.” Realizing the
ramifications of this plan, Soltani asked if the videotapes of the discussion could be subpoenaed,
advising: “I just want you to know that it’s—it’s illegal to conspire to break the law.”

74. Ignoring these qualms, the RICO Defendants and their co-conspirators put their
plan into effect, organizing their “army” in demonstrations at inspection sites and at the court-
house itself, intending to confront and instill fear into the court. Donziger described one action
to Joe Berlinger, the director of the film Crude: “[O]ur private ‘army’... has been very effec-

tive. Yesterday they followed a Texaco lawyer into the judge’s chambers and had a confronta-

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tion. This is a critical part of our strategy that is allowing the case to go forward.” Over the en-
suing months, the conspirators’ private army would make numerous appearances at judicial in-
spections of environmental sites, at the courthouse, and in the streets of Lago Agrio, always
seeking to remind the judiciary that this was not litigation, but a “flat-out street brawl.” At one
such protest at a judicial inspection of the Sacha Sur Station, the RICO Defendants and their co-
conspirators amassed their “army” of protesters who the judge would not permit to enter the Sta-
tion due to the risk that such a large mob would pose to the Station’s operation. When Donziger
saw that what he described as his “army” would not be able to enter, he demanded that the
“f[**]kin’ judge” come to the gate to deal with the mob himself and warned that “they’re pro-
voking a violent incident.” Although the RICO Defendants’ and their co-conspirators’ “army” -
was rebuffed at this inspection, the RICO Defendants and their co-conspirators achieved their
purpose of letting the judiciary know that it was being watched by a potentially violent group. In
another incident, the conspirators organized a protest at the judge’s office after a canceled judi-
cial inspection. The intimidation was successful, causing the judge to “sweat” and “promis[e] to
make a decision” on a new date by the following day.

75. The RICO Defendants’ and their co-conspirators’ plan to instill fear in the judi-
ciary was only one approach to illegally obtaining a favorable ruling. Another approach in-
volved numerous attempts to personally influence, intimidate or negotiate with the judge in the
Lago Agrio Litigation, often through ex parte meetings. Donziger described such actions as
“lobbying.” Donziger, for example, has held numerous meetings with presiding judges, often
over lunch at the judges’ homes, during which he has “t[aken] advantage of the situation to ex-
plain [the RICO Defendants’] theory of the case.” During one such meeting, Donziger pressed
upon the judge the false assertion that “Texaco’s sampling is full of shit.” Donziger has also
asked his co-conspirators to meet with the judge in secret and press their case. On another occa-
sion, one of Donziger’s co-conspirators suggested that in order to get the court to rule in their
favor on an important legal point, “Maybe Pablo [Fajardo] can have one of his backroom conver-

sations.” And indeed, Fajardo and the Front—the organization that stands to receive a windfall

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from any judgment—have met directly with the judge, pressing the conspirators’ interests and
obtaining promises of cooperation from the judge. In August 2006, co-conspirator Joseph Mutti
updated Donziger that, “Luis [Yanza] reported that the judge appears to be backing down from
his position regarding the cancellation of the inspections and that pressure must be brought to
bear on him. Thus, it was resolved that two members of the coalition will be traveling to Lago
next week to meet with the judge. Esperanza already met with him twice this week—once with
an accompanying declaration—so he’s already feeling the pressure.” The RICO Defendants also
employed blackmail to get what they wanted. For example, the RICO Defendants “wrote up a
complaint against [Judge] Yanez, but never filed it, while letting him know [they] might file it if
he does not adhere to the law and what [they] need.” And on a task list he prepared in February
2006, Donziger wrote: “accuse [Judge] of being involved in corruption with Chevron; ask for
recusal.” |

76. Not content to apply pressure themselves, and as part of their previous arrange-
ment with the Ecuadorian government (see {ff 58-61, supra), the RICO Defendants and their co-
conspirators have also enlisted Ecuadorian officials to pressure and intimidate the judiciary to
rule against Chevron. As Donziger has explained the strategy, “We can have the best proof in
the world, and if we don’t have a political plan we will surely Jose. On the other hand, we can
[have] mediocre proof and a good political plan and stand a good chance of winning.” Donziger
understood that to get what the co-conspirators wanted, he had to do “political work at the high-
est level to make things happen, like get the government, for example, to take a position in a case
that affects your clients.” This was facilitated by the fact that, according to Donziger, the con-
spirators had “close ties” to “high-ranking Ecuadorian government officials” in addition to the
Front’s “wide influence in Ecuador” and “abf[ility] to command meetings with government min-
isters and even the President.”

77. The collaboration between the RICO Defendants and Republic of Ecuador is so
close that one U.S. District Court has concluded that it was “‘an established fact” that the Repub-

lic of Ecuador was supporting the Lago Agrio Plaintiffs. The Republic of Ecuador recently as-

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serted in court filings that it has had a formal “common interest agreement” with representatives
of the Lago Agrio Plaintiffs since 2006. In pursuit of that alleged common interest, the RICO
Defendants and the Republic of Ecuador have coordinated their legal and public relations strate-
gies, both directly and through Ecuador’s U.S. legal counsel. As part of this cooperation, the
RICO Defendants have received assistance from the highest levels of government in Ecuador,
from “allies [who were] firmly entrenched at the top.” For example, Donziger himself ghost-
wrote a letter from Ecuador’s ambassador to the United States, Dr. Luis Gallegos, to The Wall
Street Journal.

78. The RICO Defendants have also worked with Winston & Strawn LLP, the U.S.
_ law firm hired by Ecuador to represent it against Chevron in proceedings in the United States.
The RICO Defendants have provided information and other assistance to Winston & Strawn, in-
cluding having Stratus provide scientific analysis and Donziger help with the drafting of legal
documents. Donziger, aware that this level of cooperation crossed the line, was concerned it
might lead Chevron to believe the RICO Defendants and the Ecuadorian government were “in
bed” together. Thus, upon realizing he had been photographed alongside a Winston & Strawn
attorney for a newspaper article, Donziger vowed to deny that the man in the photograph was
him. However, Donziger recognizes that the RICO Defendants and the Republic of Ecuador have
been “really helping each other.”

79, In 2009 when a bribery scandal erupted around the presiding judge in the trial at
the time, Judge Nujfiez, the RICO Defendants’ contemporaneous correspondence reveals that
the Correa government intended to bury the evidence of corruption. On September 2, 2009,
days after the story broke, co-conspirator Juan Pablo Saenz wrote to Donziger and assured him
that the Front’s “sources at the government tell us they’re actively looking for [Ecuadorians in-
volved in the scandal], to cut their heads off. We should focu[s] on Borja and Hansen, since
they’re the Chevron stooges. Correa and his cronies will take care of the rest.”

80. The RICO Defendants have also turned to the government to shut down Petroec-

uador’s remediation, because of the negative impact it would have on their scheme. For exam-

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ple, in 2009, in an email to Donziger and other conspirators with the subject line
“WORRISOME,” Fajardo warned them that a newspaper was reporting that the government was
assuming responsibility for remediation, and, worse, that it believed it would cost an “extremely
low” $96 million. Fearful that Chevron would “say that the State finally assumed its duty and is
going to clean up what it ought to,” Fajardo called on his co-conspirators to act. Donziger re-
sponded in an email to Juan Saenz, “You have to go to Correa to put an end to this s[**]t once
and for all.”

81. Other members of the Ecuadorian government have also signaled to the Lago
Agrio court the government’s demand that Chevron be found liable. As the Ecuadorian Attorney
General Diego Garcia Carrién told a reporter in August 2008, the Correa administration’s posi-
tion in this case is clear: “The pollution is [the] result of Chevron’s actions and not of Petroec-
uador.” Again, in May 2010, Attorney General Garcia “dismissed any responsibility on the part
of the Ecuadorian State for the environmental damage caused in the Amazon region by the U.S.-
based oil company Chevron-Texaco.” And in September 2009, Ombudsman Fernando Gutiérrez
announced that: (i) the Lago Agrio Litigation “has absolute priority and the judgment must be
rendered as soon as possible”; (ii) the case concerns “an assault on the entire country”; and (111)
in a direct signal to the Lago Agrio court, that Chevron, rather than the State, bears full responsi-
bility for any harm.

82. This support was not arrived at independently, but through collusion between the
RICO Defendants and the Republic of Ecuador. Ana Alban, then Ecuador’s Minister of the En-
vironment, communicated with Donziger directly, assuring him that the Government was “giving
the support that we can do” to the Lago Agrio Plaintiffs, reminding him that “we brought the
President to the zone,” and assuring him that she had a “very close” “friend of the Frente de
Amazonia working with me doing all this.”

83. The fact that President Correa and other members of the Government have sided
with the Defendants and against Chevron sends a clear message to the Ecuadorian judiciary that

they must find Chevron liable. And it sends a message to Chevron that it must pay money to the

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conspirators in the form of a “settlement” or face a fraudulent, politically influenced judgment
that the RICO Defendants intend to try to enforce in U.S. courts or elsewhere. These messages
are made all the clearer by the de facto control and the near-autocratic power the Ecuadorian
presidency wields over all Ecuadorian institutions today.

84. Various sources confirm the political branches’ domination over Ecuador’s judi-
ciary in recent years and the judiciary’s system-wide corruption. For example, the World Bank’s
Worldwide Governance Indicators for 2009, compiled from 21 independent sources, ranked Ec-
uador below the 10th percentile of all countries surveyed with respect to the “rule of law”—
down from the 31st percentile in 2003. Ecuador’s negative score is -1.28, which places it below
North Korea (-1.25).

85. The U.S. Department of State’s annual Human Rights Report published in
March 2010 also noted that “there continued to be serious problems” with respect to “corruption
and denial of due process within the judicial system” and that the judiciary was “susceptible to
outside pressure and corruption.” Similarly, as recently as July 15, 2010, the UN Special Rap-
porteur on extrajudicial executions described Ecuador’s judicial system as “almost universally
condemned for its inefficiency and mismanagement.”

86. Against this backdrop of collusion and corruption, the RICO Defendants have
virtually assured a judgment in their favor and against Chevron by playing the “game” “dirty”
and currying favor from the Ecuadorian government. And this is all part of the conspirators’
scheme to convince Chevron to pay up—or else. Chevron has initiated international arbitration
under the Bilateral Investment Treaty, seeking relief from the Republic of Ecuador’s violations
of international law and treaty obligations in connection with its failure to honor its contractual
agreements. The Lago Agrio Plaintiffs and other parties named in this complaint are not and
cannot be parties to the Treaty Arbitration, and Ecuador has asserted sovereign immunity against

claims filed in courts of the United States.

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b. Manipulating and Falsifying Their Own Experts’ Findings
to Corrupt the Judicial Inspection Process

87. At the outset of the litigation, the court ordered a process known as a judicial in-
spection to assess the 122 former consortium oil production sites. In a process agreed to by both
parties and the court, experts were nominated by each side and appointed by the court to investi-
gate and report on conditions at the sites. The court nominated a third set of “settling experts” to
resolve any differences between the experts nominated by the parties.

88. The RICO Defendants and their co-conspirators believed they could use and cor-
rupt the judicial inspection process to their advantage. To this end, they designed a strategy to
“choreograp[h]” the judicial inspections and to “create conflict, invit[ing] the press” to “entrap
[Chevron] in the conflict.” As Donziger put it, “The goal of the inspections [was] to win the le-
gal case, not to produce an independent scientific report.” From his perspective, the judicial in-
spection process was “all about politics and arguing and bullshit and show.” Part of that show
was to organize a number of demonstrations at the judicial inspection sites—some threatened to
become violent (see | 74, supra)—to showcase the strength and will of the RICO Defendants’
and their co-conspirators’ “army” and to send a message to the judiciary that it was being
watched.

89. The RICO Defendants and their co-conspirators have also sought and obtained a
court order prohibiting Petroecuador from conducting any remediation of the former consortium
area. Fajardo spelled out to his colleagues, “[Petroecuador is] altering the evidence and it is pos-
sible that when our technicians go to the PG to take samples that they will find most of the waste
has been removed. This could complicate things for us a bit.” Fajardo explained that it was “ur-
gent” that the RICO Defendants “coordinate” with Petroecuador “so they will desist [remediat-
ing] until we’ve had a chance to extract the evidence we need.” In response, Donziger cautioned
Fajardo to “[bJe careful with written letters—informal and oral meetings are better[.] [W]e don’t
want Texaco to use some letter to say we are obstructing remediation.” In another email to

Donziger and other conspirators, Fajardo expressed concern that the government was assuming

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responsibility for remediation, and that it would cost an “extremely low” $96 million. The RICO
Defendants then turned to the government for assistance in shutting down the remediation.

90. Ultimately, the judicial inspection process was short lived. The first and only
time settling experts issued a report for one of the judicial inspection sites was in February 2006,
at which point they agreed with Chevron’s expert’s findings and concluded that TexPet’s reme-
diation met the standards agreed to with Ecuador. They further agreed that there was no evi-
dence of contamination posing a risk to either human health or the environment.

91. When it became apparent to the conspirators that the judicial inspection process
was not going to provide them with the record they needed to extort a payment from Chevron,
they abandoned that process and set about developing their own false history and factual record,
entirely under their control. Using a series of paid experts whom they pressured, misled or re-
cruited to their scheme, the conspirators created an increasingly extreme and distorted record,
and then manipulated the Lago Agrio court to accept that false history as the product of inde-
pendent analysis.

(i) Inducing an Expert to Report Biased and False Results

92. To create their first false data point, the RICO Defendants pressured their U.S.
expert David Russell to develop an exaggerated damages estimate and continued to “use it to put
out a figure that will scare Chevron and investors,” long after Russell sent Donziger a cease and
desist letter demanding that he stop using the estimate.

93. In 2003, Russell, who was retained by the RICO Defendants to oversee the judi-
cial inspection process for the Lago Agrio Plaintiffs and prepare a damages analysis, initially es-
timated the cost of remediation to be approximately $6 billion. In Russell’s own words, that es-
timate was prepared in “a very short time, with only a week of review time in the jungle, and
heavily influenced by [Donziger] in the writing.” At Donziger’s insistence, and as evidence of
his heavy influence on Russell’s initial calculation, Russell used the most expensive remedial

option available, because Donziger wanted a “large” damages estimate. Even so, Russell made

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clear to Donziger and others that the quantitative data “ha[d] not [been] reliably established” and
that he and his team were “still at the guessing stage.”

94. As Russell continued his work, he realized that the evidence on the ground did
not support his damages estimate. By December 2004, he told Donziger “that Texaco may be
right when they indicate that the remediation is performing as designed, and degrading the petro-
leum.” Two months later he provided an update to Donziger in which he explained, “From the
data I have seen so far, we are not finding any of the highly carcinogenic compounds one would
hope to see when investigating the oil pits.”

95. After Russell prepared his estimate, he learned that the remediation work he
considered appropriate could be completed at a substantially lower cost and wrote Donziger in
February 2006 to demand that he stop using the unsupported and exaggerated $6 billion estimate.
In his letter, Russell informed Donziger that the information he has since learned “would cause
me to state that the 2003 cost estimate is too high by a substantial margin, perhaps by a factor of

ten, or more.” (Emphasis in original.) And indeed, a year later, another of the co-conspirators,

 

Charles Champ, estimated that a remediation and related social and development projects could
be done for $1 billion, an estimate that itself is wildly exaggerated and calculated using fictional
cost assumptions. Nonetheless, the RICO Defendants have never publicly disclosed this exag-
gerated figure because it is too low for their illicit purposes.

96. In that same cease and desist letter, Russell objected to Donziger’s and Amazon
Watch’s use of the $6 billion estimate in their request to the U.S. Securities and Exchange Com-
mission (“SEC”) for the SEC to “investigate Chevron under Sarbanes-Oxley” for allegedly “un-
derreporting their liabilities.” Russell made clear that the “estimate is no longer valid and if sub-
poenaed to testify, I will state that the costs are much lower based upon the knowledge available
to me at the time I was released from the project.”

97. Russell also emphasized in the letter that he wanted nothing more to do with
Donziger and the RICO Defendants’ and their co-conspirators’ pursuit of the litigation against

Chevron:

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I do not want to get into the courts in the US, and do not want to be involved in
your case against Texaco/Chevron!

 

I have not prepared any other cost estimate, nor do | intend to do so. It is no
longer any of my concern, except to see that the name of my company and my
reputation are not abused by continued association with the Aguinda vs. Texaco
lawsuit. If subpoenaed, I will tell the truth about what I know about the existing
costs, how the cost estimate was prepared, and what the differences in unit costs
might be to cleanup contamination in Ecuador.

I am trying to stay out of your way and out of your case, but by using and abusing
the outdated cost estimate to flail Chevron, you keep dragging me back in to [sic]
it! The Ecuador project has been a sorry chapter in my life and I do not want to
get re-involved with you or it on any basis.

Several recent press releases using the 2003 cost estimate plus the most recent
demand by Amazon Watch abuses me and my company.

Get a new cost estimate generated in Ecuador. You will have to do that under the

terms of the Global Inspection as required by the Court in Ecuador. That 2003

cost estimate is a ticking time bomb which will come back to bite you, and very

badly if anyone attempts due diligence on it.

(Emphasis in original.)

98. Donziger did not mince words in response: “I don’t care what the f[**]k that
guy says.” In a conversation with co-conspirator Soltani of Amazon Watch, Donziger acknowl-
edged that the “[p]rice tag” for remediation “would only be a guess” and that Russell’s $6 billion
“very rough estimate” significantly overstated the true costs of remediation: “[The] six billion
dollar thing is out there. The reality is, based on what this guy is telling me, [it] would cost less
than that. Significantly less than that... .” And in an email to his co-conspirators, Donziger
recognized that the “fact [Russell] sent this letter has a certain amt of danger for us.” Nonethe-
less, in a subsequent conversation with Defendants Fajardo and Yanza and others, Donziger dis-
cussed requesting a higher amount than $6 billion so a judgment of a lower amount could be por-
trayed as favorable to Chevron: “But as a concept, I ask, do we ask for much more than we
really want as a strategy? Do we ask for eight and expect three, so that [the judge] says, ‘Look,

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Texaco, I cut down the largest part.

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99. And despite Russell telling Donziger that his estimate was inaccurate and that he
did “not want to be involved in” the Lago Agrio Litigation and despite Donziger’s assurance to
Russell that he would stop using Russell’s work, the RICO Defendants and their co-conspirators
continued to use the exaggerated and disavowed $6 billion estimate. As Donziger explained it,
“(Gl]iven that [the RICO Defendants] ha[d] worked with Russell’s number all of these years,” not
continuing to use the $6 billion number “would make [them] look like fools.” For example,
Amazon Watch, exhibiting the same disregard of the facts as Donziger, continued to tout the $6
billion figure well after Russell sent Donziger his cease and desist letter. Indeed, Amazon
Watch’s press releases asserted that Russell’s company, Global Environmental Operations, en-
dorsed the $6 billion damages estimate even though Russell implored Donziger to stop “abusing”
the “name of [Russell’s] company” by associating it with the Lago Agrio Litigation. For exam-
ple, a March 20, 2007 press release entitled “Ecuador Court Speeds Up Chevron’s $6 Billion
Amazon Trial Over Rainforest Contamination” issued by Amazon Watch states: “The only in-
dependent damage assessment, by the U.S. firm Global Environmental Operations, puts clean-up
costs at $6.14 billion, exclusive of personal damages to thousands of residents of the area.” In
issuing this press release, the conspirators lied about having an expert estimate of $6 billion
when they knew that Russell repudiated the $6 billion figure as “no longer valid” and “a ticking
time bomb” well over a year earlier.

(ii) Filing Falsified Expert Reports

100. Not only did the RICO Defendants and their co-conspirators pressure Russell to
come up with a large, unsupported damages assessment, but they also submitted falsified expert
reports under the name of another of their U.S. experts, Dr. Charles Calmbacher, that contra-
dicted his conclusions that he had found no evidence of harm.

101. In 2004, the conspirators selected Dr. Calmbacher to be the expert in charge of
their inspection and to act as the Lago Agrio Plaintiffs’ testifying expert for four of the sites that

were being inspected.

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102. Shortly after Dr. Calmbacher began his work in the field, Donziger informed
him and the other members of the technical team that “[t]he goal is to win the legal case, not to
produce an independent scientific report.” Much to the RICO Defendants’ dismay,

Dr. Calmbacher did not abide by this admonition when he informed the RICO Defendants and
their co-conspirators that, in his professional opinion, the sites he inspected did not require fur-
ther remediation and did not pose a risk to human health or the environment. This, of course,
was not what the RICO Defendants and their co-conspirators wanted to hear. Indeed, Donziger
had instructed Dr. Calmbacher to find contamination during his site inspections.

103. Dr. Calmbacher was uneasy with Donziger’s instructions and the level of contro!

_the RICO Defendants tried to exert over his work. He was concerned regarding the methods and
scope of analysis that the RICO Defendants and their co-conspirators planned to perform on the
samples they collected. In his opinion, the analysis was insufficient to test all the aspects of the
oil that he felt should be tested. When Dr. Calmbacher informed Donziger of his concerns, how-
ever, Donziger brushed them aside and decided to proceed with the limited and inadequate
analysis he already had planned.

104. When it became clear that Dr. Calmbacher’s conclusions were unsatisfactory to
the RICO Defendants and their co-conspirators, they submitted to the Lago Agrio Court judicial
inspection samples bearing the name “Selva Viva Laboratory” on the chain of custody forms.
But there is no Selva Viva Laboratory; rather, the “analysis” was performed—if it was per-
formed at all—in the RICO Defendants’ and their co-conspirators’ team hotel room, and they
borrowed the name “Selva Viva”—the same name as the RICO Defendant who was “created”
“simply as a pass thru mechanism to administer funds for the litigation” in Ecuador—to lend
false authenticity to their sham inspection. The conspirators knew such activity was not without
risk, and they worried that Dr. Calmbacher would “inform the court that the Selva Viva project is
a fraud.”

105. Ultimately, the RICO Defendants and their co-conspirators decided that they did

not need Dr. Calmbacher to agree with their position, and that if the facts did not support their

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